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                                      UNITED STATES BANKRUPTCY COURT
10                                    WESTERN DISTRICT OF WASHINGTON
                                                 AT SEATTLE
11
     In re: Almond,                                        )    Case No. 16-10609
12                                                         )
                                                           )    Chapter 13
13   CHARLES THOMAS ALMOND and BETTY                       )
     JEAN ALMOND, husband and wife                         )    ORDER GRANTING MOTION TO ALLOW
14                                                         )    LISTING OF REAL PROPERTY FOR SALE
                                      Debtor               )
15

16               THIS MATTER having come before the Court, on the debtor’s MOTION TO ALLOW
17   LISTING OF REAL PROPERTY FOR SALE, the Trustee approving, and the Court being satisfied that
18   this Order should be entered, IT IS HEREBY

19               ORDERED that the debtor is authorized to list the debtor’s real property, commonly known as

20
     5815 141st St SW, Edmonds, Washington 98026, for sale at anytime prior to the completion of the
     debtor’s Chapter 13 Plan.
21

22
                                                    //End of Order//
23
     Presented by:
24   /s/Mary E. Schmitt
     Mary E. Schmitt, WSBA #21530
25   Attorney for Debtor

26
     Order - 1                                                                                    Mary E. Schmitt
                                                                                                   Attorney at Law
27                                                                                                  WSBA #21530
                                                                                                    PO Box 3288
                                                                                             Friday Harbor WA 98250
28                                                                                                425-309-6281




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